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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

 EQUAL OPPORTUNITY
 EMPLOYMENT COMMISSION,

                  Plaintiff,

 and

 ANDREW DEUSCHLE,                                        8:18-CV-329

                  Intervenor Plaintiff,                    ORDER

 vs.

 WERNER ENTERPRISES, INC.,

                  Defendant.


      This matter is before the Court on both parties' objections to the
designated deposition testimony of Clarence Easterday, Jr., Wayne
Cederholm, and Christopher Hilkemann:

                            Clarence Easterday, Jr.
      Both parties' objections to the deposition designations will be overruled
subject to the following caveat for one of the plaintiffs' objections:

23:21-24:12       Overruled, but the deposition           should    include,   for
                  completeness, 24:13-22.

                              Wayne Cederholm
      Both parties' objections to the deposition designations will be overruled
except as to the following:
                             Plaintiffs' Objections
12:18-20           Overruled, but the deposition should include, for
                   completeness, 12:25-13:6.
36:11-37:2         Overruled, but the deposition should include, for
                   completeness 37:3-6.
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                           Defendant's Objections
29:4-7, 9         Sustained only as to 29:6-9, foundation.

                            Christopher Hilkemann
      Both parties' objections to the deposition designations will be overruled
subject to the following caveats for two of the plaintiffs' objections:

10:12-24          Overruled, but the deposition           should    include,   for
                  completeness, 10:25-11:9.
44:19-47:20       Overruled, but the deposition           should    include,   for
                  completeness, 47:21-48:3.

      IT IS SO ORDERED.

      Dated this 3rd day of June, 2023.

                                           BY THE COURT:


                                           John M. Gerrard
                                           Senior United States District Judge




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